        Case 2:20-cv-00872-PD Document 15 Filed 05/13/20 Page 1 of 4




                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA

CHERYL A. MORETT,                                   :
    Plaintiff,                                      :
                                                    :
              v.                                    :        Civ. No. 20-872
                                                    :
WILLIAM GRETZULA, et al.,                           :
     Defendants.                                    :

                                  SCHEDULING ORDER

     AND NOW, this 13th day of May, 2020, it is ORDERED as follows:

  1. A trial for the above-captioned case shall be held on December 1, 2020, at 9:30 a.m. in
     Courtroom 14A, United States District Court, 601 Market Street, Philadelphia, PA
     19106;

  2. A final pretrial conference is scheduled for November 25, 2020, at 10:00 a.m. in Room
     14614, United States District Court, 601 Market Street, Philadelphia, PA 19106. Lead
     Trial Counsel must attend. It is the responsibility of any trial counsel who cannot attend
     to contact the Court as soon as any conflict becomes known so the Court may consider
     rescheduling the conference.      Unless the Court has otherwise granted permission,
     whoever attends the final pretrial conference will try the case. In addition to each trial
     counsel, each Plaintiff and Defendant or, in the case of a corporate Party, a representative
     with full authority to settle the case shall attend. Telephone availability is not acceptable
     unless leave of Court has been granted. Failure to comply with this order may result in
     sanctions      in   accordance   with    the       Federal   Rules   of   Civil   Procedure.
              As outlined below, all motions in limine, evidentiary motions, stipulations of
     facts, all depositions that will be introduced as testimony, and any and all other legal
     disputes that the Parties are aware of shall be due before the final pretrial conference so
     that they may be resolved before trial begins;

  3. The Parties shall propound all interrogatories and requests for document production no
     later than June 29, 2020. The Parties shall respond to all written discovery requests no
     later than July 20, 2020. THESE RESPONSES SHALL INCLUDE ALL INITIAL
      Case 2:20-cv-00872-PD Document 15 Filed 05/13/20 Page 2 of 4




   DISCLOSURES CONTEMPLATED BY RULE 26(a)(1). All discovery shall proceed
   and continue in such manner as will assure that all requests for, and responses to,
   discovery will be noticed, served, and completed no later than August 4, 2020. The
   Parties should conduct discovery remotely (e.g. take depositions by videoconference or
   telephone) pending further Order of the court;

4. This matter is referred to United States Magistrate Judge Timothy R. Rice for a
   settlement conference on or about August 11, 2020. PLAINTIFF’S COUNSEL SHALL
   CONTACT DEFENDANT’S COUNSEL, AND THEN THE PARTIES SHALL
   JOINTLY CONTACT JUDGE RICE’S CHAMBERS TO ARRANGE THIS
   CONFERENCE. If the Parties believe that a settlement conference would be helpful at
   an earlier time, they are directed to contact Judge Rice to schedule the same. Judge Rice
   will require that lead counsel and Parties with full settlement authority attend the
   conference;

5. Any summary judgment motion or other dispositive motion, together with supporting
   brief, shall be filed no later than September 3, 2020. Responses shall be filed no later
   than September 24, 2020;

6. Plaintiff shall propose stipulated facts and submit those proposed stipulated facts to
   Defendant no later than October 26, 2020. Defendant shall state agreement or
   disagreement with each of Plaintiff’s proposed stipulated facts and may counter-propose
   stipulated facts no later than October 30, 2020. Plaintiff is obligated to respond no
   later than November 2, 2020;

7. In accordance with Fed. R. Civ. P. 26(a)(3), listed exhibits shall be numbered and pre-
   marked for use at trial; no exhibit shall be listed unless it is already in the possession of
   opposing counsel. Only specifically listed exhibits may be used in the Party’s case-in-
   chief except by leave of Court;

8. Counsel for each Party shall serve upon counsel for the other Party no later than
   November 2, 2020:

       a. a copy of each exhibit they expect to offer at trial in furtherance of their


                                            2
      Case 2:20-cv-00872-PD Document 15 Filed 05/13/20 Page 3 of 4




           respective contentions. Each exhibit shall be marked as it will be marked for trial;

       b. curriculum vitae for each expert witness expected to testify; and

       c. a specific identification of each discovery item expected to be offered into
           evidence;

9. Counsel shall also provide the Court with one copy of all of these items in a tabbed,
   three-ring binder, complete with table of contents, no later than November 2, 2020;

10. As to documents listed in accordance with Fed. R. Evid. 803(6), as amended, notice in
   accordance with Fed. R. Evid. 902 (11) or (12) must be given no later than November
   2, 2020;

11. All witnesses as to liability and damages should be listed. Only listed witnesses may
   testify at trial except by leave of Court. Any Party who intends to use deposition
   testimony at trial must submit deposition designations by October 26, 2020. Counter-
   designations shall be submitted by October 30, 2020. Objections to the designations
   shall be submitted no later than November 2, 2020;

12. Any other pretrial or trial matter requiring attention of the judge prior to trial, shall be
   specifically addressed in the final pretrial conference;

13. All Parties shall prepare and file with the Clerk of the Court their pretrial memoranda by
   November 9, 2020;

14. All motions in limine shall be filed no later than November 9, 2020. Responses thereto
   are due no later than November 16, 2020;

15. No later than November 9, 2020, after meeting and conferring, the Parties shall jointly
   submit proposed jury voir dire questions, jury interrogatories, verdict sheets, and
   proposed jury instructions a tabbed, three-ring binder, complete with table of contents.
   The Parties shall individually submit any proposed questions, interrogatories, sheets, or
   instructions upon which the Parties after conferring cannot agree.           All questions,
   interrogatories, sheets, and instructions shall be submitted in hard copy and on a flash


                                             3
         Case 2:20-cv-00872-PD Document 15 Filed 05/13/20 Page 4 of 4




      drive to the Court;

   16. No later than November 16, 2020, the Parties shall jointly submit to the Court a tabbed,
      three-ring binder, complete with table of contents, containing each of the following:

          a. Answer;

          b. Complaint;

          c. Plaintiff’s Pretrial Memorandum;

          d. Defendants’ Pretrial Memorandum;

          e. Stipulated Facts;

          f. Jointly Proposed Jury Voir Dire Questions (and any not agreed upon);

          g. Jointly Proposed Jury Interrogatories (and any not agreed upon);

          h. Jointly Proposed Jury Instructions (and any not agreed upon); and

          i. Jointly Proposed Verdict Sheet; and

   17. The Parties shall also provide the Court with an electronic copy of the above documents
      in Word format.




                                                           AND IT IS SO ORDERED.

                                                           /s/ Paul S. Diamond
                                                           ___________________
May 13, 2020                                               Paul S. Diamond, J.




                                               4
